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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
 8
   METH LAB CLEANUP, LLC,
 9 an Idaho limited liability company,

10          Plaintiff,                                 CASE NO.: 2:14-cv-01259
11 vs.                                                 COMPLAINT FOR INJUNCTIVE
12                                                     RELIEF, DAMAGES AND JURY
   BIO CLEAN, INC.,                                    DEMAND
13 a Washington Corporation, and THERESA
   BORST, an individual,
14
         Defendants.
15

16
            COMES NOW PLAINTIFF, METH LAB CLEANUP, LLC (“MLCC” or “Plaintiff”), by
17
     and through its undersigned counsel, does hereby sue Defendants, BIO CLEAN, INC.
18
     (“BioClean”) and THERESA BORST (“Borst”) (collectively “Defendants”) for willful
19

20 trademark infringement and unfair competition.

21                              PARTIES, JURISDICTION, AND VENUE
22          1.       This is a civil action pursuant to the Lanham Act, 15 U.S.C. §§ 1052 et. seq. and
23
     related claims for injunctive relief, damages in excess of $75,000.00 exclusive of interest,
24
     attorney fees and costs.
25

26

     COMPLAINT FOR INJUNCTIVE RELIEF AND                              ROHDE & VAN KAMPEN PLLC
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 1           2.       MLCC is an Idaho limited liability corporation who conducts business across the

 2 United States and Canada having its headquarters and principle place of business located at

 3 2994 E. Sable Court, Athol, Idaho 83801-9794.

 4
             3.       BioClean is a Washington corporation whose principal place of business is
 5
     located at 3316 Old Hartford Road, Unit A2, Lake Stevens, Washington 98258.
 6
             4.       Borst is an individual engaged in commerce in the State of Washington who
 7

 8 resides in the Lake Stevens, Washington area.

 9           5.       This Court has in personam jurisdiction as to Defendants, as BioClean is

10 registered to conduct business in Washington and conducts substantial and not isolated business

11 activities within this state, this judicial district and this division.     Borst resides in Washington
12
     and conducts business through (and is the moving force of) BioClean.
13
             6.       Venue properly lies within this judicial district and division pursuant to 28 U.S.C.
14
     §1391 and §1400.
15

16           7.       This Court has jurisdiction over the subject matter of this action pursuant to 15

17 U.S.C. §1121, 28 U.S.C. §1331, §1338 and §1332 because there is diversity of citizenship

18 between the parties and the matter in controversy exceeds the sum of $75,000.00, exclusive of

19
     interest, attorney’s fees and costs.
20
                       FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
21
                         Meth Lab Cleanup LLC and its Valuable Trademark Rights
22
             8.       MLCC is a nationally recognized and licensed vendor that offers affordable and
23

24 effective testing and decontamination services for homes and facilities that were previously used

25 as illegal drug laboratories. As a pioneer in the field of clandestine drug lab decontamination,

26 MLCC has created and developed certain advanced clean up technologies to help rehabilitate

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 1 homes, apartments, condos and other dwellings that were unfortunately used to prepare and then

 2 later sell illegal drugs.

 3          9.       MLCC offers these decontamination services nationwide through a series of
 4
     independent contractors – all of which have been trained and licensed by MLCC for purposes of
 5
     ensuring high quality and effective decontamination solutions to customers affected by these
 6
     illegal acts. By ensuring uniform training and then later effective service through its network of
 7

 8 trained technicians, MLCC helps ensure that a dwelling once contaminated by toxic chemicals

 9 and illegal drugs will be safe and secure for later occupancy and domicile.

10          10.      In order to ensure its network of decontamination specialists are adequately
11 trained with the most recent advances in the technology and procedures of clandestine drug lab

12
     decontamination, MLCC has created a robust and comprehensive nationwide training procedure.
13
     The training procedure includes MLCC’s travel to various large metropolitan areas to conduct
14
     detailed and comprehensive courses for purposes of certifying its cadre of trained technicians.
15

16 To provide these training courses, MLCC has created various training materials. In addition,

17 participants of these training procedures are also prompted to go to MLCC’s website located at

18 www.MethLabCleanup.com (the “METH LAB CLEANUP Website”) for various information,

19
     including updated database of state laws, safety reminders and techniques, and other valuable
20
     information.
21
            11.      As the purveyor of the information provided on the METH LAB CLEANUP
22
     Website, as well as the owner of the rights in the training materials, MLCC has expended a
23

24 considerable level of time, effort, resources and money to create one of the country’s only

25 nationally accredited, well regarded drug decontamination training programs. To protect the

26 repute and notoriety of this program – as well as the related decontamination services – MLCC

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 1 has sought the protections of both the Lanham and Copyright Acts to protect the name METH

 2 LAB CLEANUP as well as the underlying expression and authorship found in MLCC’s training

 3 materials.

 4
             12.     With regard to specific protection under Lanham Act, MLCC maintains six
 5
     trademark registrations before the United States Patent and Trademark Office (“USPTO”)
 6
     regarding its corporate name “Meth Lab Cleanup LLC” as well as its related service mark
 7

 8 METH LAB CLEANUP (collectively the “METH LAB CLEANUP Marks”). These six

 9 federal registrations include:

10    Mark and Registration No.     Class       Status                    Identification of Services

11 METH LAB CLEANUP LLC              42     Registered       Evaluation and testing of illegal clandestine drug
     Reg. No. 3,662,399                     (Aug. 4, 2009)   lab sites for the presence of hazardous and illegal
12                                                           materials; Evaluation and testing of real estate for
                                                             the presence of hazardous material
13 METH LAB CLEANUP LLC              40     Registered       Consultation in the field of clandestine drug lab site
     Reg. No. 3,662,398                     (Aug. 4, 2009)   decontamination; Decontamination of illegal
14                                                           clandestine drug lab sites
     METH LAB CLEANUP LLC            41     Registered       Training services in the field of clandestine drug lab
15 Reg. No. 3,662,396                       (Aug. 4, 2009)   decontamination and cleanup.

16

17 METH LAB CLEANUP                  41     Registered       Training services in the field of clandestine drug lab
     Reg. No. 4,288,271                     (Feb 12, 2013)   decontamination and cleanup.
18   METH LAB CLEANUP                40     Registered       Consultation in the field of clandestine drug lab site
     Reg. No. 4,288,270                     (Feb 12, 2013)   decontamination; Decontamination of illegal
19                                                           clandestine drug lab sites.
     METH LAB CLEANUP                42     Registered       Evaluation and testing of illegal clandestine drug
20 Reg. No. 4,278,724                       (Jan 22, 2013)   lab sites for the presence of hazardous and illegal
                                                             material, Evaluation and testing of real estate for the
21                                                           presence of hazardous materials.

22

23 True and correct copies of these six trademark registrations are attached as Exhibit A hereto.

24           13.     In addition to these six registrations before the USPTO shown in Exhibit A,

25 MLCC has developed certain enforceable common law rights to the mark METH LAB

26 CLEANUP.

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 1          14.    MLCC has engaged in considerable efforts to enforce and maintain exclusive

 2 rights to both its common law rights to the mark METH LAB CLEANUP, as well as with

 3 regard to the METH LAB CLEANUP Marks.

 4
            15.    MLCC currently, and at all times material hereto, markets and sells its services
 5
     under the METH LAB CLEANUP Marks to various governmental agencies and private
 6
     customers throughout the United States in interstate commerce.
 7

 8          16.    MLCC currently, and all times material hereto, promotes and advertises its

 9 services at the METH LAB CLEANUP website, which includes the METH LAB CLEANUP

10 marks. Plaintiff has expended extensive time, energy, and funds in promoting, marketing, and

11 advertising its services under the METH LAB CLEANUP Marks.

12
            17.    The METH LAB CLEANUP Marks are inherently distinctive, or alternatively
13
     have become distinctive, and well known in the drug lab decontamination industry.
14
            18.    The METH LAB CLEANUP Marks connote MLCC’s goodwill and reputation
15

16 to relevant customers and in the industry.

17                             MLCC and its Trademark Enforcement Initiatives

18          19.    MLCC has successfully enforced its rights regarding its METH LAB CLEANUP
19
     marks, including the following seven successful ICANN arbitrations before the National
20
     Arbitration Forum, which resulted in transfer of certain domains featuring MLCC’s marks:
21
        Domain Name at Issue        Case No.       Adverse Party               Result             Transfer Date
22
     Meth-LabCleanup.com            1301289    Laura Spaulding d/b/a    Request Granted,          March 1, 2010
23                                             Spaulding Decon LLC      Transfer of Domain
                                                                        name to MLCC
24 MethLabCleanup.Info              1376605    Michael Rowzee           Request Granted,          April 10, 2011
                                                                        Transfer of Domain
25                                                                      name to MLCC
     MethLabCleanupUtah.com;        1412301    Utah     Crime   Scene   Request Granted,          Nov. 29, 2011
26   UtahMethLabCleanup.com                    Cleaners                 Transfer of Domain
                                                                        name to MLCC

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 1 TexasMethLabCleanup.com            1443888      Kirt Flippin d/b/a Texas   Request Granted,          June 15, 2012
                                                   Decon                      Transfer of Domain
                                                                              name to MLCC
 2
     MethLabCleanup.co                1456469      Tony Branch                Request Granted,          Sept. 12, 2012
                                                                              Transfer of Domain
 3                                                                            name to MLCC
     MethLabCleanup.us                1477963      Tony Branch                Request Granted,          Feb 12, 2013
 4                                                                            Transfer of Domain
                                                                              name to MLCC
 5 MethLabCleanupOhio.com             1490567      Lee Surgener               Request Granted,          April 29, 2013
                                                                              Transfer of Domain
 6                                                                            name to MLCC

 7

 8          20.      In addition to these seven successful ICANN proceedings, MLCC has obtained

 9 settlement resolutions with third-party remediation companies, which have likewise agreed not to

10 use the METH LAB CLEANUP marks in headers, titles, meta-tags, and similar Internet /web

11
     based advertising. These settlements include, but are in no way limited to, the following:
12
                    Infringer                   Address/Location   Date of Demand         Nature of Settlement
13                    Name                                         Letter by MLCC                 Terms
        X-Treme Cleaners                        Prairieville, LA     July 17, 2013      Letter Agreement Dated
14                                                                                      July 22, 2013
        American Integrated Services Inc.       Fairfield, CA         July 23, 2013     Letter Agreement Dated
15                                                                                      July 29, 2013
        BioRecovery 911                         Franklinton, LA       July 23, 2013     Signed settlement
16                                                                                      agreement dated July 25,
                                                                                        2013
17      SET Environmental                       Wheeling, Il.         July 17, 2013     Letter Agreement,
                                                                                        through counsel, dated
                                                                                        July 23, 2013.
18

19          21.       In addition, the United States District Court for the Middle District of Florida

20 previously found in a case entitled Meth Lab Cleanup LLC v. Spaulding Decon, et al., Case No.

21 8:10-CV-02550-JSM-TGW that both U.S. Trademark Reg. No. 3,662,398 and U.S. Trademark

22
     Reg. No. 3,662,399 “are valid and enforceable” and that “a reasonable trier of fact could find that
23
     the common law mark METH LAB CLEANUP used by [MLCC] has acquired distinctiveness
24
     and connotes a single source of training, testing, consulting and remediation services in the field
25

26

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 1 of clandestine drug laboratory decontamination.” A true and correct copy of this Order is

 2 attached hereto as Exhibit B.

 3        22.        Based upon MLCC’s active enforcement of its valuable trademark rights through
 4
     settlement proceedings, ICANN arbitrations and through Federal court practice, the METH
 5
     LAB CLEANUP Marks represent some of the strongest and most valuable trademarks in this
 6
     industry.
 7

 8                                  MLCC’s Role in Washington State

 9        23.        MLCC is one of only two training programs recognized by the Washington

10 Department of Health with regard to professionals seeking to be certified in clandestine drug lab

11 decontamination.

12
          24.        Since June of 2009, MLCC has been a certified trainer in this field for the
13
     Washington Department of Health. Attached as Exhibit C is a true and correct copy of MLCC’s
14
     provider certificate with the State of Washington.
15

16        25.        In addition, MLCC is one of only eight companies certified by the Washington

17 Department of Health to provide such services.

18        26.        As such, MLCC represents not only one of the few companies which can provide
19
     remediation services regarding former clandestine drug labs, but it is also one of the two groups
20
     which the state fees is competent enough to provide underlying training.
21
                                        BioClean and Theresa Borst
22
          27.        BioClean is a Washington state based provider of bio recovery services, including
23

24 the cleaning of crime scenes, assistance with helping hoarders, as well as addressing bed bug

25 problems.       BioClean advertises these services on its Website www.BioCleanWa.com (the
26 “BioClean Website”).

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 1        28.       Upon information and belief, Borst is the sole owner, principal and moving force

 2 behind BioClean.

 3        29.       Upon information and belief, BioClean does not offer its services outside of the
 4
     state of Washington.
 5
          30.       While not a primary focus of its service offerings, Bio Clean advertises locally
 6
     that it provides certain remediation services within Washington state regarding former
 7

 8 methamphetamine laboratories.

 9        31.       BioClean is one of the eight companies certified by the Washington Department

10 of Health to provide such services. BioClean sought to become certified by attending MLCC’s

11 certification courses (as one of only two trainers recognized by the State of Washington).

12
          32.       In or about March 2009, four employees from BioClean became certified with the
13
     Washington Department of Health through receiving training from MLCC. Copies of class
14
     registrations for these four individuals with MLCC’s March 2009 training class are attached as
15

16 Exhibit D hereto.

17        33.       MLCC received three trademark registrations with the USPTO in August 2009 for

18 the marks METH LAB CLEANUP LLC:

19
                    •       Trademark Registration No. 3,622,399
20                  •       Trademark Registration No. 3,662,398
                    •       Trademark Registration No. 3,662,396
21
     As such, BioClean was afforded appropriate notice regarding MLCC’s rights to these marks in or
22

23 around this timeframe.

24        34.       From August 2009 to June 2011, BioClean’s on-line advertising did not make any

25 mention to the term “Meth Lab Cleanup” nor did it use any form of similar name in on-line

26

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 1 advertising.    Instead, BioClean referred to its remediation services as “Clandestine Drug Lab

 2 Cleanup & Disposal” as shown by the following June 2011 archive of the BioClean Website:

 3

 4

 5

 6

 7

 8

 9

10

11
          35.       In or about February 12, 2013, MLCC received three additional trademark
12

13 registrations from the USPTO for the mark METH LAB CLEANUP, which included the

14 following registrations:

15                  •      Trademark Registration No. 4,288,271
16                  •      Trademark Registration No. 4,288,270
                    •      Trademark Registration No. 4,278,724
17
     As such, BioClean was afforded appropriate notice regarding MLCC’s rights to these three
18
     marks in or around this timeframe.
19

20        36.       Soon after receipt of these trademark registrations by MLCC, BioClean changed

21 its website advertising in or about June 2013 and began – for the very first time – to use the

22 METH LAB CLEANUP Marks to advertise and promote Defendants’ clandestine laboratory
23
     remediation services. This is illustrated by a June 2013 dated archive of the BioClean Website:
24
25

26

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10        37.       This advertising and promotion by BioClean through use of the METH LAB

11 CLEANUP Marks was without authorization or permission by MLCC.

12        38.       MLCC was particularly concerned over BioClean’s June 2013 changes to the
13
     BioClean Website (and related on-line advertising). Such use of the METH LAB CLEANUP
14
     Marks was particularly alarming based upon (a) MLCC’s close geographic proximity with
15
     BioClean (Washington State v. western Idaho), (b) the fact that both MLCC and BioClean are
16

17 only two of the eight licensed groups providing remediation services in the State of Washington,

18 and (c) the fact that MLCC is a principal training group (one of only two) tasked by the State of
19 Washington with training individuals seeking to conduct remediation services.

20        39.       Based upon these concerns, MLCC prepared and served a written cease and desist
21
     letter on or about June 24, 2013 to stop BioClean’s infringing on-line advertising (which at the
22
     time had only been going on for about one month). A true and correct copy of the June 24, 2013
23
     cease and desist letter from MLCC is attached as Exhibit E hereto.
24
25        40.       On or about August 2, 2013, MLCC received a response from attorney

26 Christopher Pirnke from the Inslee Best firm to inform MLCC that it was “recently retained by

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 1 BioClean” to address MLCC’s allegations of trademark infringement and that the firm was

 2 “evaluating [MLCC’s] claims and will respond in due course.” A true and correct copy of the

 3 August 2, 2013 correspondence is attached at Exhibit F hereto. Ultimately no response was ever

 4
     ultimately provided on behalf of BioClean.
 5
          41.       On or about February 20, 2014, a second written demand was sent by MLCC to
 6
     BioClean again addressing these actions of trademark infringement and unfair competition. A
 7

 8 true and correct copy of the second written demand is attached at Exhibit G hereto. This second

 9 cease and desist letter by MLCC was likewise ignored by Defendants.

10        42.       Despite multiple written demands to cease these willful and knowing actions of
11 infringement and unfair competition regarding the METH LAB CLEANUP Marks, Defendants

12
     have continued to abuse the benefits accorded by MLCC’s training programs and certification
13
     assistance to BioClean – and likewise BioClean has continued to used without authorization or
14
     permission the METH LAB CLEANUP Marks. Such reckless use of these well recognized and
15

16 strong marks by BioClean has been done purposefully to promote Defendants’ own services in

17 bad faith and for an anti-competitive purpose.

18        43.       Defendants’ intent and purpose in using the METH LAB CLEANUP Marks on
19
     the BioClean website, is to allow customers searching Google for MLCC (by typing in the term
20
     “Meth Lab Cleanup”) to instead be directed to the BioClean website.
21
          44.       Defendants’ use of the METH LAB CLEANUP Marks owned by MLCC has
22
     caused, and is continuing to cause, actual confusion among consumers as to the source or
23

24 sponsorship of MLCC’s services.

25        45.       MLCC has never authorized Defendants to use its METH LAB CLEANUP
26 Marks for any purpose.

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 1           46.     Defendants’ use of the METH LAB CLEANUP Marks is likely to cause

 2 confusion and mistake as to the origin of the MLCC’s services and the relationship between

 3 MLCC and the Defendants.

 4
             47.     If MLCC is not able to protect its METH LAB CLEANUP Marks from
 5
     infringers and unauthorized use, it would be unable to effectively market those services to new or
 6
     potential consumers.
 7

 8           48.     MLCC has been, and continues to be, irreparably damaged by Defendants’

 9 unauthorized use of the METH LAB CLEANUP Marks.

10                                       COUNT I
                         FEDERAL UNFAIR COMPETITION – PASSING OFF
11                                   15 U.S.C. § 1125(a)
12
           49.       MLCC re-alleges and incorporates by reference paragraphs one (1) through forty-
13
     eight (48) as if fully set forth herein.
14
           50.       Defendants have knowingly used the METH LAB CLEANUP Marks on
15

16 BioClean website, in interstate commerce, and within multiple business channels in connection

17 with the sale of services in the same industry as MLCC.

18         51.       In addition, Defendants have used the METH LAB CLEANUP Marks as part of
19
     its metatags within the HTML code within its website for purposes of creating enhanced search
20
     engine optimization, such that when customers searching for MLCC type in “Meth Lab Cleanup”
21
     one of the search results will include the BioClean Website with the hope of diverting those
22
     customers to Defendants’ website advertisements.       A copy of the metatag information for
23

24 Defendants’ website is as follows:

25

26

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 1

 2

 3

 4
          52.       Defendants’ use of the METH LAB CLEANUP Marks is likely to cause, has
 5
     caused, and will continue to cause, confusion among customers as to the origin, sponsorship or
 6

 7 approval of Defendants’ services.

 8        53.       Defendants’ actions are in violation of 15 U.S.C. §1125(a) in that Defendants

 9 have used, and are using, in relation to commercial activities, a false designation or origin, or a

10 false or misleading description which is likely to cause confusion, and to cause mistake, and to

11
     deceive, as to the affiliation, connection, or association of Defendants with MLCC as to the
12
     origin, sponsorship or approval of Defendants’ commercial activities.
13
          54.       MLCC has suffered, and will continue to suffer, irreparable harm resulting from
14

15 the acts of unfair competition by Defendants. MLCC will suffer additional irreparable harm

16 unless Defendants are enjoined by the Court from continuing those acts, which constitute unfair

17 competition.

18
          55.       MLCC has no adequate remedy at law.
19
          56.       Defendants’ acts of unfair competition are willful and this is an exceptional case
20
     within the meaning of 15 U.S.C. §1117.
21
                                     COUNT II
22
                 WASHINGTON STATE COMMON LAW UNFAIR COMPETITION
23                            AND TRADEMARK CLAIMS

24        57.       MLCC re-alleges and incorporates by reference paragraphs one (1) through fifty-

25 six (56) as if fully set forth herein.

26

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 1          58.     Continuously since on or about July 2003, MLCC has used the METH LAB

 2 CLEANUP mark to distinguish its services by among other things, prominently displaying the

 3 mark on its letterhead, bills, advertising, website pages and in periodicals distributed in interstate

 4
     commerce throughout the United States.
 5
            59.     MLCC’s METH LAB CLEANUP Marks are inherently distinctive, or have
 6
     acquired secondary meaning, to purchasers in the trade area in which the parties compete.
 7

 8          60.     Defendants have adopted MLCC’s METH LAB CLEANUP Marks to promote

 9 their services via the Internet and various other business channels.            Moreover, Defendants

10 created advertising via the Internet (as well as used metatags) for purposes of making the

11 appearance that Defendants are sponsored, affiliated or sanctioned by MLCC – which has led (or

12
     may lead) to confusion in the relevant market.
13
            61.     The acts and conduct of Defendants, as alleged herein, constitute unfair
14
     competition and trademark infringement pursuant to the common law of the State of
15

16 Washington, and Defendants have been engaged in acts of unfair competition as alleged above in

17 a willful, wanton and malicious manner.

18          62.     By reason of the Defendants’ acts alleged herein, MLCC has suffered, and will
19
     continue to suffer, damages to its business, reputation, and goodwill, and is entitled to recover
20
     damages for this injury, including the profits MLCC would have made but for Defendants’ acts,
21
     together with the ill-gotten gains of Defendants, and damages for its willfulness.
22
            63.     The conduct of the Defendants will continue, to the irreparable harm of MLCC,
23

24 unless Defendants are restrained and enjoined from further unlawful conduct.

25          64.     MLCC’s remedy at law is, therefore, inadequate to compensate it for the injuries
26 it will suffer in the future for the continued acts of infringement alleged herein.

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 1                                    COUNT III
                INFRINGEMENT OF A FEDERALLY REGISTERED TRADEMARK
 2                                  15 U.S.C. § 1114
 3           65.     MLCC re-alleges and incorporates by reference paragraphs one (1) through sixty-
 4
     four (64) as if fully set forth herein.
 5
             66.     MLLC’s six registrations before the USPTO of the METH LAB CLEANUP
 6
     Marks is conclusive evidence of the validity of the mark and of MLCC’s exclusive ownership of
 7

 8 and right to use its METH LAB CLEANUP marks.

 9           67.     Defendants’ wrongful use of the registered METH LAB CLEANUP Marks in

10 commerce in conjunction with the promotion of its services in the same trade industry as MLCC

11 is likely to cause consumer confusion, mistake or deception as to source, sponsorship, affiliation,

12
     or authorization by MLCC, or alternatively, to destroy the origin-identifying function of
13
     MLCC’s METH LAB CLEANUP Marks.
14
             68.     As a proximate result of Defendants’ actions, MLCC has suffered, and will
15

16 continue to suffer, damages to its business, reputation, and goodwill, and is entitled to recover

17 damages for this injury.

18           69.     The conduct of the Defendants will continue, to the irreparable harm of MLCC,
19
     unless Defendants are restrained and enjoined from further unlawful conduct.
20
             70.     MLCC’s remedy at law is, therefore, inadequate to compensate it for the injuries
21
     it will suffer in the future for the continued acts of infringement alleged herein.
22
             71.     The foregoing acts of infringement by Defendants in appropriating the METH
23

24 LAB CLEANUP Marks have been and continue to be deliberate, willful and wanton, making

25 this an exceptional case within the meaning of 15 U.S.C §1117.

26

     COMPLAINT FOR INJUNCTIVE RELIEF AND                                 ROHDE & VAN KAMPEN PLLC
                                                                          1001 Fourth Avenue, Suite 4050
     DAMAGES - 15                                                         Seattle, Washington 98154-1000
                                                                                   (206) 386-7353
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 1           72.    MLCC is entitled to a preliminary and permanent injunction against Defendants,

 2 as well as all other monetary remedies available under the Lanham Act, including, but not

 3 limited to, compensatory damages, treble damages, disgorgement of profits, costs and attorney’s

 4
     fees.
 5
                            PRAYER FOR COSTS AND ATTORNEY FEES
 6
             MLCC requests award of reasonable costs and attorney fees pursuant to the Lanham Act
 7

 8 and Washington state law.

 9                                    REQUEST FOR JURY TRIAL

10           MLCC requests jury trial of all matters so triable as a matter of right.
11                                        PRAYER FOR RELIEF
12
             WHEREFORE, for all of the foregoing reasons, Plaintiff, METH LAB CLEANUP, LLC,
13
     request this Honorable Court grant relief in the following manner:
14
             a.     Defendants and their agents, servants, employees, and those people in active
15

16 concert or participation with them be preliminary and permanently enjoined from infringing on

17 Plaintiff’s METH LAB CLEANUP Marks.

18           b.     Be awarded all other monetary remedies available under the Lanham Act and
19
     common law, including but not limited to, penalties and fines, compensatory damages, treble
20
     damages, disgorgement of profits, interest, costs and attorney’s fees as legally permitted by each
21
     count respectively.
22
             c.     Any and all other relief that this Honorable Court deems just.
23

24

25

26

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 1                                 DATED this August 15, 2014.

 2
                                              ROHDE & VAN KAMPEN PLLC
 3

 4
                                              s/ Nathan Paine
 5                                            Nathan Paine, WSBA No. 34487
                                              npaine@rvk-law.com
 6                                            Attorneys for Plaintiff Meth Lab Cleanup, LLC
 7

 8

 9

10   Of Counsel:
     Robert H. Thornburg
11   Florida Bar No. 630829
12   rthornburg@addmg.com
     ALLEN, DYER, DOPPELT, MILBRATH
13     & GILCHRIST, P.A.
     1221 Brickell Ave., Suite 2400
14   Miami, FL 33131
     Telephone:    305-374-8303
15   Facsimile:    407-841-2343
16
     Attorneys for Plaintiff Meth Lab Cleanup LLC
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                                                                  1001 Fourth Avenue, Suite 4050
     DAMAGES - 17                                                 Seattle, Washington 98154-1000
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